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Form 193 − ntccompayments

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 19−23492−SLM
                                         Chapter: 13
                                         Judge: Stacey L. Meisel

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   James A. Gilmartin
   131 Rock Road
   Glen Rock, NJ 07452
Social Security No.:
   xxx−xx−9756
Employer's Tax I.D. No.:


                         NOTICE TO DEBTOR AND DEBTOR'S COUNSEL
                  TO COMMENCE PAYMENTS PURSUANT TO 11 U.S.C. SECTION 1326
         Pursuant to 11 U.S.C. Section 1326, all Chapter 13 debtors are ordered to commence payments pursuant to
their proposed plan in compliance with the following schedule:

1. PAYMENTS TO TRUSTEE:

Payments to the Chapter 13 Standing trustee shall commence on the first day of the month immediately following the
filing of the case and on the first day of each succeeding month. Payments shall be directed to the standing trustee at
the following address:

                                               Marie−Ann Greenberg
                                             Chapter 13 Standing Trustee
                                                    P.O. Box 520
                                             Memphis, TN 38101−0520

2. PAYMENTS TO SECURED PARTIES, INCLUDING MORTGAGEES:

If, in addition to payments to the Standing trustee, your proposed plan provides for regular payments to be made
outside of your plan, you must pay the mortgagee on a monthly basis.
          EXAMPLE OF PARAGRAPHS ONE AND TWO
        Assume the debtor filed a Chapter 13 case on August 25, which proposes to pay the
        trustee $100.00 per month to cure arrears on a mortgage and to pay regular monthly
        payments to the mortgagee of $300.00 per month. Confirmation of the plan is scheduled
        to occur on December 30.
       Monthly payments of $100.00 per month must be paid to the standing trustee beginning
       September 1. By December 30, the date of confirmation, you must have paid to the
       trustee 4 payments of $100 for a total of $400. You must also have made 4 regular
       payments of $300 for a total of $1200 to the mortgagee.
(continued on back)
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Payments must be made by money order or certified check.

Failure to make payments according to the above instructions may result in the plan not being confirmed and
dismissal of the case.

Any questions concerning this matter should be directed to your attorney.




Dated: December 6, 2019
JAN: mlc

                                                                      Jeanne Naughton
                                                                      Clerk
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                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 19-23492-SLM
James A. Gilmartin                                                                                         Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-2                  User: admin                        Page 1 of 1                          Date Rcvd: Dec 06, 2019
                                      Form ID: 193                       Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 08, 2019.
db             +James A. Gilmartin,   131 Rock Road,   Glen Rock, NJ 07452-2051

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 08, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 6, 2019 at the address(es) listed below:
              Andrew M. Lubin    on behalf of Creditor   Select Portfolio Servicing, Inc. as servicing agent for
               Wilmington Trust, NA bkecf@milsteadlaw.com, alubin@milsteadlaw.com
              John P. Fazzio    on behalf of Debtor James A. Gilmartin jfazzio@fazziolaw.com,
              Marie-Ann Greenberg     magecf@magtrustee.com
              Nancy Isaacson     nisaacson@greenbaumlaw.com, isaacson@remote7solutions.com;J101@ecfcbis.com
              U.S. Trustee    USTPRegion03.NE.ECF@usdoj.gov
                                                                                              TOTAL: 5
